Jahna M. Lindemuth (AK No. 9711068)
Scott M. Kendall (AK No. 0405019)
Cashion Gilmore & Lindemuth
510 L Street, Suite 601
Anchorage, Alaska 99501
Phone: (907) 222-7932
Fax: (907) 222-7938
jahna@cashiongilmore.com
scott@cashiongilmore.com

Attorneys for Applicant-Intervenor Alaska Federation of Natives

                      IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF ALASKA

 UNITED STATES OF AMERICA,

                       Plaintiff,

 KUSKOKWIM RIVER INTER-TRIBAL                           Case No. 1:22-CV-00054-SLG
 FISH COMMISSION, et al.,

                       Intervenor Plaintiffs,

 v.

 STATE OF ALASKA, et al.,

                       Defendants.


   [PROPOSED] ORDER GRANTING ALASKA FEDERATION OF NATIVES’
                     MOTION TO INTERVENE

       This Court, having considered Alaska Federation of Natives’ Motion to Intervene,

and any opposition filed thereto, hereby GRANTS the motion to intervene as a matter of

right pursuant to Federal Rule of Civil Procedure 24(a)(2).




 [PROPOSED] ORDER GRANTING ALASKA FEDERATION OF NATIVES’ MOTION TO
 INTERVENE                                                                             Page 1 of 2
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            v. State                             Document 89-2 Filed 09/26/23 Page 1 of 2
                     of Alaska et al., Case No. 1:22-CV-00054-SLG
      IT IS SO ORDERED.

DATE: _________________                     _____________________________
                                            Hon. Sharon L. Gleason
                                            United States District Judge




CERTIFICATE OF SERVICE

I certify that on September 26, 2023, a copy
of the foregoing document was served via ECF
on all counsel of record.

/s/ Jahna M. Lindemuth




[PROPOSED] ORDER GRANTING ALASKA FEDERATION OF NATIVES’ MOTION TO
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